           Case 1:21-cv-02724-JRR Document 29 Filed 05/02/22 Page 1 of 5



IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                      Northern Division

MARTEZ CARTER,                                *

         Plaintiff                            *

v.                                            *       Civil Action No.: 1:21-cv-02724-CCB

BALTIMORE POLICE                              *
DEPARTMENT, et al.
                                              *
         Defendants
                                              *

*       *    *    *     *    *   *    *    *    *    *     *    *
        OFFICER DEFENDANT’S REPLY TO PLAINTIFF MARTEZ CARTER’S
     OPPOSITION TO OFFICER DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
                       SECOND AMENDED COMPLAINT

         Former Baltimore Police Department (“BPD”) Major and Defendant James Handley

(“Officer Defendant”), by and through undersigned counsel and pursuant to Fed. R. Civ. P.

12(b)(6), hereby submits this Officer Defendant’s Reply to Plaintiff Martez Carter’s (“Plaintiff”)

Opposition to Officer Defendant’s Motion to Dismiss Plaintiff’s Second Amended Complaint (the

“Opposition”), and, in support thereof, state as follows:

    I.   THE OPPOSITION IS INEFFECTIVE TO PRECLUDE DISMISSAL OF PLAINTIFF’S
         SECOND AMENDED COMPLAINT ON THE GROUNDS OF THE STATUTE OF
         LIMITATIONS.

         BPD Defendants are filing a separate Reply to the Opposition to their Motion to Dismiss

Plaintiff’s Second Amended Complaint (“BPD Reply”). Officer Defendant hereby incorporates,

by reference, those arguments BPD Defendants posit in the BPD Reply, as to Plaintiff’s Second

Amended Complaint being time-barred, as if fully stated herein.

II.      THE OPPOSITION IS INEFFECTIVE TO PRECLUDE DISMISSAL OF PLAINTIFF’S
         SECOND AMENDED COMPLAINT ON THE GROUNDS OF RACE-BASED
         DISCRIMINATION CLAIMS UNDER TITLE VII.


                                                  1
          Case 1:21-cv-02724-JRR Document 29 Filed 05/02/22 Page 2 of 5



       BPD Defendants are filing a separate Reply to the Opposition to their Motion to Dismiss

Plaintiff’s Second Amended Complaint (“BPD Reply”). Officer Defendant hereby incorporates,

by reference, those arguments BPD Defendants posit in the BPD Reply, as to Plaintiff’s Second

Amended Complaint failing to state a claim as to Title VII violation, as if fully stated herein.

III.   THE OPPOSITION FAILS TO REBUT OFFICER DEFENDANT’S SUPERVISORY
       ROLE IN THIS CAUSE OF ACTION SUCH THAT THIS COURT MUST RULE
       OFFICER DEFENDANT’S EXISTENCE IN THIS CAUSE OF ACTION IS IMPROPER.

       The “settled law of the Fourth Circuit, beginning with the case of Birkbeck v. Marvel

Lighting Corp., 30 F.3d 507 (4th Cir. 1994), has long rejected individual liability under ... federal

EEO laws.” Russell v. Russel Motor Cars Inc., 28 F. Supp. 3d 414, 419 (D. Md. 2014) (quoting

Moody v. Arc of Howard Cty., Inc., No. JKB–09–3228, 2011 WL 2671385, at *4 (D. Md. July 7,

2011). Simply stated, Plaintiff’s Response in Opposition is devoid any argument or opposition to

Defendants’ arguments that Officer Defendant is an improper defendant in this cause of action.

See Middleton v. Baltimore City Police Dep’t, No. CV ELH-20-3536, 2022 WL 268765 (D. Md.

Jan. 28, 2022) at *23 (“a plaintiff who fails to respond to an argument for dismissal is deemed to

have abandoned the claim.”). Thus, Plaintiff has abandoned his claims against Officer Defendant.

See Mentch v. E. Sav. Bank, FSB, 949 F. Supp. 1236, 1246-47 (D. Md. 1997) (holding that failure

to meaningfully respond to defendant’s argument or to offer clarification in response to

Defendant’s motion constitutes a waiver); see also Campbell v. Ethicon, Inc., No. CV GLR-20-

1356, 2021 WL 6126288, at *11 (D. Md. Dec. 28, 2021) (dismissing claim because plaintiff failed

to address or otherwise respond to defendant’s assertion in dispositive motion). Accordingly,

Plaintiff has conceded and, thus, those claims against Officer Defendant must be dismissed, with

prejudice.




                                                 2
            Case 1:21-cv-02724-JRR Document 29 Filed 05/02/22 Page 3 of 5



IV.      EVEN IF THIS COURT DISAGREES THAT OFFICER DEFENDANT IS AN
         IMPROPER DEFENDANT, PLAINTIFF CONCEDES OFFICER DEFENDANT IS
         ENTITLED TO IMMUNITY.

         The Opposition conflates public official immunity principles with sovereign immunity

principles. In toto, the Opposition states:

         Notwithstanding Defendant BPD’s waiver of sovereign immunity and to the extent
         that BPD Defendants concede that Handley was acting within the scope of his
         employment and that BPD ultimately is liable for his actions, Plaintiff concedes
         that Defendants Handley and Michael Harrison are afforded common law public
         official immunity. Because Handley (1) was a public official at the time of
         Plaintiff’s claim; (2) discriminatory, illegal, and tortious conduct, i.e., Handley
         calling Plaintiff a “fucking nigger”, occurred in the course of the actor’s
         performance as Major of Recruitment; and (3) those acts were within the scope of
         his official duties as Major of Recruitment, then the BPD would be liable for
         Handley’s conduct. See Houghton v. Forrest, 412 Md. 578, 585 (2010). If BPD
         Defendants’ alleged that it is not liable for Handley’s conduct, Handley could then
         be sued in his official capacity.

      See ECF No. 25, p. 23.

         Here, Plaintiff is making the argument that, if Officer Defendant’s conduct was within the

      scope of his employment, then BPD cannot utilize sovereign immunity to defend against the

      cause of action. The fact remains, however, that public official immunity, in this context,

      concerns the discretionary nature of a decision not to hire a candidate for a position as a basis

      to preclude liability against Officer Defendant. Plaintiff’s argument that a racial epithet was

      utilized in consideration of a decision not to hire Plaintiff conflates racial discrimination

      standards with that of sovereign immunity. The two are not coexistent. As Plaintiff concedes

      Officer Defendant is entitled to public official immunity, Plaintiff’s Second Amended

      Complaint, as to Officer Defendant, must be dismissed.

                                      [signature on following page]




                                                   3
Case 1:21-cv-02724-JRR Document 29 Filed 05/02/22 Page 4 of 5



                                   Respectfully submitted,



                                   /s/Stuart R. Goldberg_______________
                                   Stuart R. Goldberg, Fed. Bar No. 21236
                                   sgoldberg@bakerdonelson.com
                                   Thomas H. Barnard, Fed. Bar. No. 27488
                                   tbarnard@bakerdonelson.com
                                   BAKER, DONELSON, BEARMAN,
                                    CALDWELL & BERKOWITZ, P.C.
                                   100 Light Street, 19th Floor
                                   Baltimore, MD 21202
                                   Phone: 410-862-1339
                                   Fax: 410-547-0699

                                   Attorneys for Officer Defendant
                                   James Handley




                              4
         Case 1:21-cv-02724-JRR Document 29 Filed 05/02/22 Page 5 of 5



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of May 2022, a copy of the foregoing Officer

Defendant’s Reply to Plaintiff Martez Carter’s Opposition to Officer Defendant’s Motion to

Dismiss Plaintiff’s Second Amended Complaint was filed with the United States District Court for

the District of Maryland, and served on all counsel of record, electronically, via the Court’s

CM/ECF e-filing system.



                                                     /s/Stuart R. Goldberg
                                            Stuart R. Goldberg, Fed. Bar No. 21236




                                               5
